          Case 6:01-cr-00164-ADA Document 409 Filed 01/11/21 Page 1 of 12



                                     United States District Court
                                      Western District of Texas
                                           Waco Division

 United States of America,
    Plaintiff,

     v.                                                         No. 6:01-CR-164-ADA

 (1) Sherman Lamont Fields,
     Defendant.

                               Joint Advisory to the Court &
               Government’s Response to Defendant’s Successive Motion to Vacate
          The Fifth Circuit has authorized Defendant Sherman Fields to challenge two of his three

counts of conviction under 18 U.S.C. § 924(c), which prohibits using or carrying a firearm

during and in relation to a crime of violence. After conferring, the parties agree that this Court

should (1) dismiss Fields’s attack on Count Five, which he has not been authorized to challenge;

(2) vacate Fields’s convictions and sentences on Counts Three and Seven; and (3) resentence

Fields to life imprisonment on Count Five and appropriate terms on the other surviving counts.

Therefore, the parties have agreed on this joint advisory, which also serves as the government’s

response to Fields’s § 2255 motion.

                                             Background

          A.     The convictions.
          The counts of conviction Fields wants to challenge arise from crimes a jury found he

committed after escaping from federal custody in 2001. United States v. Fields, 483 F.3d 313,

323-24 (5th Cir. 2007). The Fifth Circuit has recounted the basis for these convictions:

          Sherman Lamont Fields was arrested in September 2001 for being a felon in
          possession of a firearm, and he was held in federal custody in a detention center in
          Waco, Texas. In November 2001, while Fields was in custody, he bribed a
          correctional officer, offering him $5,000 for a key to the detention center's fire
          escape. He used the key to escape on November 6.

          That evening, Fields met with a friend, Edward Outley, who provided Fields with
          a car and a handgun. Fields then visited his ex-girlfriend, Suncerey Coleman, at
          Hillcrest Hospital in Waco, where she was caring for her newborn child. Fields
          was angry at Coleman for having seen other men while he was incarcerated.
        Case 6:01-cr-00164-ADA Document 409 Filed 01/11/21 Page 2 of 12




       Fields convinced Coleman to leave the hospital with him that evening, and drove
       her to Downsville, Texas, outside Waco. Fields and Coleman had sexual
       intercourse, and then he killed her by shooting her twice in the head. Fields hid
       Coleman's body in underbrush near the road. Coleman's body was found two
       weeks later, on November 21.

       Using a handgun, Fields later carjacked an employee of Hillcrest Hospital,
       Tammy Edwards, while she was exiting her car. Edwards managed to escape, and
       Fields drove away in her car.

       Police arrested Fields on November 24, 2001.

United States v. Fields, 761 F.3d 443, 450 (5th Cir. 2014) (footnote omitted).

       A federal jury convicted Fields on seven counts, three of which were premised on 18

U.S.C. § 924(c):
        Count One           conspiring to escape from federal custody and to
                            possess contraband in prison, 18 U.S.C. §§ 371, 751,
                            1791

        Count Two           escaping from federal custody, 18 U.S.C. § 751

        Count Three         using and carrying a firearm during and in relation to
                            escape from federal custody and conspiracy to escape
                            from federal custody, both crimes of violence, resulting
                            in the intentional murder of Coleman, 18 U.S.C.
                            § 924(c), (j)

        Count Four          carjacking, 18 U.S.C. § 2119

        Count Five          using, carrying, and brandishing a firearm during and
                            in relation to carjacking, a crime of violence, 18 U.S.C.
                            § 924(c)

        Count Six           unlawful firearm possession by a felon, 18 U.S.C.
                            § 922(g)

        Count Seven         using and carrying a second firearm during and in
                            relation to escape from federal custody, a crime of
                            violence, 18 U.S.C. § 924(c)

Fields, 483 F.3d at 324; 2d Superseding Indictment 1-13, ECF No. 57.

       Fields was eligible for the death penalty because of his conviction on Count Three. See

18 U.S.C. § 924(j)(1). The jury recommended the death penalty on that count, and Judge Walter


Joint Advisory on Mot. to Vacate                                                                 2
        Case 6:01-cr-00164-ADA Document 409 Filed 01/11/21 Page 3 of 12




Smith accepted that recommendation and sentenced Fields to death. Fields, 483 F.3d at 324. On

the remaining counts, Judge Smith imposed prison terms:
       •    60 months for Counts One and Two, the counts addressing Fields’s escape and
            conspiracy to escape;
       •    a concurrent 115 months for Count Four, the carjacking count;
       •    a consecutive 25-year term for Count Five, the § 924(c) count premised on
            carjacking;
       •    and another consecutive 25-year term for Count Seven, the § 924(c) count for using
            and carrying the second gun during escape.

Judgment 2, ECF No. 230. All of these prison terms ran consecutive to Fields’s separate sentence

of just over 12 years for the firearm-possession charge he had been in custody for when he

escaped. Id.

       B.      Fields collaterally attacked his conviction and sentence.
       Fields has previously filed motions under 28 U.S.C. § 2255 attacking his conviction and

sentence. After the Fifth Circuit affirmed his conviction and sentence, he filed his first § 2255

motion. Fields, 761 F.3d at 451. Judge Smith denied the motion and denied Fields a certificate of

appealability. Id. The Fifth Circuit agreed. Id. at 450. In 2016, Fields sought leave from the Fifth

Circuit to file a second motion under § 2255. In re Fields, 826 F.3d 785, 786 (5th Cir. 2016). He

needed leave from the Fifth Circuit because federal law limits the circumstances in which a

prisoner may file a second or successive motion collaterally attacking a conviction. See 28

U.S.C. §§ 2244(b)(3)(A)-(B), 2255(h). This time, Fields argued that his § 924(c) convictions

were invalid based on the Supreme Court’s decision in Johnson v. United States, 576 U.S. 591

(2015), which struck down a statutory sentencing provision that shared features with § 924(c).

See United States v. Davis, 139 S. Ct. 2319, 2325-26 (2019). The Fifth Circuit denied him leave

to file a § 2255 motion, and the Supreme Court denied Fields’s attempts at further review

through petitions for writs of mandamus and habeas corpus. In re Fields, 137 S. Ct. 1326 (2017)

(mem.); Fields, 826 F.3d at 786-87.




Joint Advisory on Mot. to Vacate                                                                    3
        Case 6:01-cr-00164-ADA Document 409 Filed 01/11/21 Page 4 of 12




       Fields then filed a petition for habeas corpus under 28 U.S.C. § 2241 in the Southern

District of Indiana, where he is housed on federal death row. Pet., Fields v. Warden, No.

2:16cv418 (S.D. Ind. Oct. 26, 2016), ECF No. 1. In an amended petition, he reasserted his claim

under Johnson that his § 924(c) convictions were invalid. Am. Pet., Fields v. Warden, No.

2:16cv418 (S.D. Ind. Apr. 26, 2017), ECF No. 16. That petition remains pending, but the district

court in Indiana has stayed proceedings while Fields’s current § 2255 motion is resolved. Order,

Fields v. Warden, No. 2:16cv418 (S.D. Ind. July 27, 2020), ECF No. 98. 1

       C.      In United States v. Davis, the Supreme Court invalidated part of § 924(c).
       At the time of Fields’s convictions, § 924(c) defined “crime of violence” as a federal

felony that met either of two alternative definitions. See 18 U.S.C. § 924(c)(3). The first

alternative, § 924(c)(3)(A), made an offense a crime of violence if it “ha[d] as an element the

use, attempted use, or threatened use of physical force against the person or property of another.”

The second alternative, § 924(c)(3)(B), made an offense a crime of violence if it, “by its nature,

involve[d] a substantial risk that physical force against the person or property of another may be

used in the course of committing the offense.”

       In Davis, the Supreme Court ruled that § 924(c)(3)(B) was unconstitutionally vague. The

Court interpreted § 924(c)(3)(B) to require a “categorical” approach under which courts must

“disregard how the defendant actually committed his crime” and instead “imagine the idealized

ordinary case of the defendant’s crime.” Davis, 139 S. Ct. at 2326-27 (internal quotation marks

omitted). So interpreted, § 924(c)(3)(B) was unconstitutionally vague for the same reasons as the

statutes struck down in Johnson, 576 U.S. at 597-605, and Sessions v. Dimaya, 138 S. Ct. 1204,

1223 (2018). See Davis, 139 S. Ct. at 2336.



1
  The parties agree that the resolution proposed in this joint advisory should result in the
dismissal of claims Fields pursued in his habeas petition in Indiana that were based on the
argument that § 924(c)(3)(B) is unconstitutionally vague. The parties disagree on whether the
resolution proposed here would also result in dismissal of the remainder of Fields’s petition, but
this Court need not resolve that issue in addressing Fields’s current § 2255 motion.


Joint Advisory on Mot. to Vacate                                                                     4
        Case 6:01-cr-00164-ADA Document 409 Filed 01/11/21 Page 5 of 12



       D.      Fields secured leave to file a successive collateral attack raising Davis.
       In light of Davis, Fields sought leave to file a successive § 2255 motion attacking his

three counts of conviction under § 924(c): Counts Three, Five, and Seven. See Mot. for

Authorization to File, In re Fields, No. 20-50351 (5th Cir. Apr. 30, 2020). The Fifth Circuit

granted Fields leave in part. In re Fields, No. 20-50351, slip op. at 2-3 (5th Cir. Oct. 23, 2020)

(unpublished). The Fifth Circuit held that Fields had made a prima facie showing that he could

meet § 2255’s requirements for a successive motion on Counts Three and Seven, the § 924(c)

counts premised on escape or conspiracy to escape. Id. at 2. But the Fifth Circuit denied Fields

leave to pursue a successive motion on Count Five, the § 924(c) count premised on carjacking,

because Davis did not implicate that count. Id. at 3.

                                            Discussion
       The parties agree on the appropriate resolution of Fields’s motion. First, because the Fifth

Circuit has denied Fields authorization to file a motion to vacate Count Five, this Court should

dismiss that part of his motion. See United States v. Vickers, 967 F.3d 480, 487 (5th Cir. 2020).

Second, this Court can and should vacate Fields’s convictions on Counts Three and Seven and

the resulting sentences. Third, this Court should resentence Fields to life imprisonment on Count

Five and to appropriate terms on the remaining counts.

I.     This Court may address Fields’s challenge to Counts Three and Seven even on a
       successive postconviction motion.
       A successive § 2255 motion must meet procedural requirements before a district court

can properly reach its merits. United States v. Clay, 921 F.3d 550, 554 (5th Cir. 2019), cert.

denied, 140 S. Ct. 866 (2020); see 28 U.S.C. §§ 2244(b), 2255(h). Even after a prisoner has

received tentative permission from a circuit court to file a successive motion, a district court

must ascertain that the motion actually meets these procedural requirements. See Clay, 921 F.3d

at 554. A successive motion meets these requirements if it is “premised on ‘a new rule of

constitutional law, made retroactive to cases on collateral review by the Supreme Court, that was




Joint Advisory on Mot. to Vacate                                                                     5
        Case 6:01-cr-00164-ADA Document 409 Filed 01/11/21 Page 6 of 12




previously unavailable.’” In re Sparks, 657 F.3d 258, 260 (5th Cir. 2011) (quoting 28 U.S.C.

§ 2255(h)(2)).

       Fields’s motion satisfies these requirements insofar as he relies on Davis to challenge

Counts Three and Seven. Davis announced a “new rule.” See United States v. Reece, 938 F.3d

630, 633-34 (5th Cir. 2019). That rule was one of constitutional law: Davis invalidated part of a

criminal statute on constitutional grounds. See Davis, 139 S. Ct. at 2336. And that rule was

previously unavailable to Fields, as his previous attempt to file a successive § 2255 motion

illustrates. See In re Fields, 826 F.3d at 786-87; see also Reece, 938 F.3d at 633 n.2.

       The Supreme Court has also made the rule announced in Davis retroactive to cases on

collateral review. Although the Court has not stated explicitly that Davis is retroactive, the Court

can make a rule retroactive “with the right combination of holdings” if the holdings in multiple

cases “necessarily dictate retroactivity of the new rule.” Tyler v. Cain, 533 U.S. 656, 666-67

(2001). For example, if the Court “hold[s] in Case One that a particular type of rule applies

retroactively to cases on collateral review and hold[s] in Case Two that a given rule is of that

particular type, then it necessarily follows that the given rule applies retroactively to cases on

collateral review.” Id. at 668-69 (O’Connor, J., concurring).

       For example, in In re Sparks, the Fifth Circuit recognized that the Supreme Court had
made a 2010 decision retroactive because it fit into a category of retroactive holdings established

by a 1989 decision. Sparks, 657 F.3d at 260-62 (citing Graham v. Florida, 560 U.S. 48 (2010),

and Teague v. Lane, 489 U.S. 288 (1989) (plurality opinion)). The 2010 decision was substantive

because the Court held that the Constitution forbade imposing a life sentence on a juvenile who

had not committed homicide. Id. (citing Graham, 560 U.S. at 82). And the 1989 decision

established that all substantive decisions are retroactive. Id. (citing Teague, 489 U.S. at 307-10).

Together, the “combined effect” of the two decisions made the latter retroactive “as a matter of

logical necessity under Tyler.” Id. at 262.

       The same rule applies here. Case One is Welch v. United States, in which the Court held

that a decision invalidating part of a statute as unconstitutionally vague applies retroactively to


Joint Advisory on Mot. to Vacate                                                                       6
        Case 6:01-cr-00164-ADA Document 409 Filed 01/11/21 Page 7 of 12




cases on collateral review. 136 S. Ct. 1257, 1264-65 (2016). Case Two is Davis itself, in which

the Court held that § 924(c)(3)(B) was unconstitutionally vague. 139 S. Ct. at 2336. Together,

Welch and Davis necessarily dictate that the invalidation of § 924(c)(3)(B) is retroactive. Every

court of appeals to consider the issue agrees. In re Franklin, 950 F.3d 909, 910-11 (6th Cir.

2020); In re Mullins, 942 F.3d 975, 977-79 (10th Cir. 2019); In re Hammoud, 931 F.3d 1032,

1038-39 (11th Cir. 2019).

       This Court should follow the binding guidance of Tyler and Sparks even though the

majority of one Fifth Circuit panel has questioned in dicta whether the Supreme Court has made

Davis retroactive, see In re Hall, 979 F.3d 339, 342 (5th Cir. 2020). First, the majority in Hall

was careful to explain that it was not ruling on whether the Supreme Court has made Davis

retroactive. See id. at 342, 347. 2 Second, although the majority in Hall cited two opinions it
characterized as concluding that the Supreme Court has not yet made Davis retroactive, see id. at

346-47, neither of those opinions purported to decide that question. Justice Kavanaugh’s

dissenting opinion in Davis posed the question rhetorically but did not need to address it further

because Davis involved a direct appeal, not collateral review. Davis, 139 S. Ct. at 2324-25; id. at

2354 (Kavanaugh, J., dissenting). And the unpublished panel decision in Pisciotta v. Harmon,

748 F. App’x 634, 634-35 (5th Cir. 2019), addressed the retroactivity of a predecessor case,

Dimaya, 138 S. Ct. 1204, in the context of a different statutory requirement. Third, although the

panel majority posited some “further legal analysis” that might be necessary to “decide the

retroactivity question,” none is apparent. See Hall, 979 F.3d at 347. Under Tyler and Sparks,

when the Supreme Court ruled in Davis that § 924(c)(3)(B) is unconstitutionally vague, the prior

holding in Welch necessarily rendered that ruling retroactive.


2
 The panel majority stated that the government expressed no “institutional objection” at oral
argument to the contention that the Supreme Court has not made Davis retroactive. Hall, 979
F.3d at 342 n.1. In fact, the Department of Justice has consistently taken the position that the
Supreme Court in Davis necessarily made its invalidation of § 924(c)(3)(B) retroactive. And the
Department has taken that position based on its analysis of Tyler, not simply by following
another circuit’s decision, as the panel majority in Hall supposed, see 979 F.3d at 346.


Joint Advisory on Mot. to Vacate                                                                     7
        Case 6:01-cr-00164-ADA Document 409 Filed 01/11/21 Page 8 of 12




       In sum, because Fields meets all the requirements for a successive § 2255 motion, this

Court may consider his challenge to Counts Three and Seven.

II.    The Supreme Court’s holding in Davis requires that this Court vacate Fields’s
       convictions on Counts Three and Seven and the death sentence.
       Under Davis, Fields’s convictions on Counts Three and Seven should be vacated. As

noted above, a conviction under § 924(c) requires that the defendant have committed a “crime of

violence.” Reece, 938 F.3d at 632. The invalidation of § 924(c)(3)(B) leaves only one way for an

offense to be a “crime of violence”: the so-called elements clause in § 924(c)(3)(A). See United

States v. Smith, 957 F.3d 590, 592-93 (5th Cir. 2020). Under the elements clause, a felony is a

crime of violence if it “has as an element the use, attempted use, or threatened use of physical

force against the person or property of another.” § 924(c)(3)(A).

       The crimes of violence alleged in Counts Three and Seven—escape and conspiracy to

escape or to possess contraband—do not qualify as crimes of violence under the elements clause.

To decide whether an offense is a crime of violence, this Court uses the “categorical approach.”

Smith, 957 F.3d at 593. Under that approach, this Court “look[s] only to the statutory

definitions—the elements—of a defendant’s offense, and not to the particular facts underlying

the convictions.” Reece, 938 F.3d at 635. If the elements of the predicate offense necessarily

involve the use, attempted use, or threatened use of physical force against the person or property
of another, then the predicate offense is a crime of violence. See Smith, 957 F.3d at 593.

       The elements of escape in violation of § 751 are “[1] an unauthorized departure or

escape, [2] from custody of an institution where the prisoner is confined by direction of the

Attorney General, [3] where the custody or confinement is by virtue either of arrest for a felony

or conviction of any offense.” United States v. Taylor, 933 F.2d 307, 309 (5th Cir. 1991). None of

these elements requires the use, attempted use, or threatened use of physical force against the

person or property of another. For similar reasons, a conspiracy to commit escape or to possess




Joint Advisory on Mot. to Vacate                                                                    8
        Case 6:01-cr-00164-ADA Document 409 Filed 01/11/21 Page 9 of 12




contraband in prison is not a crime of violence under the elements clause. See United States v.

Robinson, 783 F. App’x 401, 402-03 (5th Cir. 2019); Reece, 938 F.3d at 635-36. 3

       Without a crime of violence, Fields’s convictions in Counts Three and Seven cannot

stand. And without the § 924(c) conviction on Count Three, the enhanced-penalty provisions of

§ 924(j) would no longer apply. Thus, Fields has shown that Counts Three and Seven and the

resulting sentences, including the death sentence, should be vacated.

III.   This Court can and should resentence Fields to life imprisonment.
       With the convictions on Counts Three and Seven vacated, this Court should resentence

Fields on the remaining counts. The Supreme Court expected that defendants with convictions

overturned by Davis would routinely be resentenced so that district courts can address the

ramifications for sentences on other counts. See Davis, 139 S. Ct. at 2336. That expectation is

consistent with the Fifth Circuit’s approach, which requires resentencing when the invalidation

of a § 924(c) count could affect the sentence on other counts. See, e.g., Reece, 938 F.3d at 636;

United States v. Benbrook, 119 F.3d 338, 339-40 (5th Cir. 1997). The invalidation of Counts

Three and Seven will affect the sentence on Count Five, which will no longer qualify as a

“second or successive” § 924(c) conviction that carries a 25-year mandatory minimum, see 18

U.S.C. § 924(c)(1)(C) (2000). Moreover, this Court will need to “reconsider the entirety of the

(now-changed) circumstances and fashion a sentence that fits the crime and the criminal.” United

States v. McRae, 795 F.3d 471, 483 (5th Cir. 2015) (cleaned up).

       The parties agree that a life sentence on Count Five is appropriate. Count Five still carries

a potential life sentence. United States v. Sias, 227 F.3d 244, 247 (5th Cir. 2000). And this Court

has “broad discretion” to select a sentence from within statutory bounds based on the fullest

3
 The parties do not agree on two related points, but this Court need not address either to resolve
Fields’s motion. First, the government does not agree with Fields’s assertion that when there are
multiple charged predicates underlying a § 924(c) conviction, a court must assume that the jury
found the least serious predicate, see Successive Mot. for Collateral Relief at 22 n.8, ECF No.
401. Second, the government does not agree that Fields’s own escape is “an example of why
escape does not categorically have as an element the use, threatened use, or attempted use of
physical force.” Id. at 20-21.


Joint Advisory on Mot. to Vacate                                                                      9
        Case 6:01-cr-00164-ADA Document 409 Filed 01/11/21 Page 10 of 12




information possible about the defendant. Alleyne v. United States, 570 U.S. 99, 117 (2013). In

this case, the parties agree, based on the information available to this Court, that a life sentence

on Count Five comports with the sentencing factors set forth in 18 U.S.C. § 3553(a) and that a

life sentence on Count Five would be sufficient, but not greater than necessary, to comply with

the purposes set forth in 18 U.S.C. § 3553(a)(2). In particular:
           •   A jury found that Fields brandished a handgun during a carjacking while evading
               capture for Suncerey Coleman’s murder. Fields, 483 F.3d at 324.
           •   A jury specifically found that Fields intentionally killed Coleman and previously
               participated in attempted murders and other serious acts of violence. Trial Tr. vol.
               14, 2044-45, ECF No. 246; Trial Tr. vol. 18, 2552-54, ECF No. 250; Special
               Findings Form 6, ECF No. 207.
           •   A jury specifically concluded that Fields is “likely to commit serious acts of
               violence in the future which would be a continuing and serious threat to the lives
               and safety of others.” Special Findings Form 7, ECF No. 207.

Fields has agreed that a life sentence is appropriate on Count Five after a full opportunity to

consult with his attorneys, who have carefully advised Fields after considering all the options

available to him.

       To facilitate resentencing on all surviving counts, the parties jointly recommend the

preparation of a revised presentence report, review of any sentencing memoranda the parties

choose to submit, and a resentencing hearing at which Fields is present in person or by video and

at which his victims may appear in person or by video.

                                            Conclusion
       For all these reasons, this Court should (1) dismiss Fields’s motion insofar as it seeks to

vacate his conviction on Count Five; (2) vacate Fields’s convictions and sentences on Counts

Three and Seven; and (3) resentence Fields to life imprisonment on Count Five and appropriate

prison terms on the other surviving counts.




Joint Advisory on Mot. to Vacate                                                                   10
       Case 6:01-cr-00164-ADA Document 409 Filed 01/11/21 Page 11 of 12



 Respectfully submitted,

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Joint Advisory on Mot. to Vacate                                                 11
       Case 6:01-cr-00164-ADA Document 409 Filed 01/11/21 Page 12 of 12




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   I certify that on January 11, 2021, I electronically filed this document with the Clerk of
Court using the CM/ECF system.

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                                       italia.patti@fd.org

   ☐ I also certify that I have mailed this document by United States Postal Service to the
     following non-CM/ECF participant(s):

                                               n.a.


                                                      /s/ Zachary C. Richter
                                                      Zachary C. Richter
                                                      Assistant United States Attorney




Joint Advisory on Mot. to Vacate                                                                12
